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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ERIN ALDRICH, et al.                                 )
                                                       )
                               Plaintiffs,             )
                                                       )
                          v.                           )        No. 1:20-cv-02310-JRS-MPB
                                                       )
  NATIONAL COLLEGIATE ATHLETIC                         )
  ASSOCIATION, et al.                                  )
                                                       )
                               Defendants.             )

                                MAGISTRATE JUDGE’S ORDER ON
                               TELEPHONIC STATUS CONFERENCE

          This matter came before the Honorable Matthew P. Brookman, United States

   Magistrate Judge, by telephone, at 11:00 a.m., Indianapolis time (EST), on November 24, 2020,

   for a conference under Rule 16, Federal Rules of Civil Procedure. Parties were represented by

   counsel.

          Thereafter, the following ORDERS are entered:

          1. Defendants' Motion to Postpone Scheduling Conference, Hold L.R. 16-1(C)(1) in

   Abeyance, and/or Stay Discovery (Docket No. 114) is GRANTED.

          2. The parties shall file their Fed. R. Civ. P. 26 initial disclosures on or before

   February 26, 2021.

          3. Defendants' MOTION Agreed Extension of Time and Joint Request for Briefing

   Schedule (Docket No. 119) is GRANTED.

          4. A TELEPHONIC STATUS CONFERENCE is set for APRIL 23, 2021 at

   10:00 a.m., Indianapolis time (EST), before the Honorable Matthew P. Brookman, United

   States Magistrate Judge. The information needed by counsel to participate in this



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   telephonic conference will be provided by a separate notification.

           This order has been formulated after a conference at which the respective parties have

   appeared. Any party shall file any corrections or additions within fourteen (14) days after

   receipt of this order.

           SO ORDERED.

   Dated: November 25, 2020




  Served electronically on all ECF-registered counsel of record.




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